                     IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF KANSAS
                                  AT KANSAS CITY

IN RE:                                                  )
                                                        )
JOHN Q. HAMMONS FALL 2006, LLC                          )      Case No.:       16-21142-RDB
et al.,                                                 )
                                                        )      Chapter 11
                                                        )      (Jointly Administered)
                               Debtor(s).               )

CLAIMANT INTERQUEST NORTH NO. 1, LLC’S RESPONSE TO THE REVOCABLE
 TRUST OF JOHN Q. HAMMONS DATED DECEMBER 28, 1989 AS AMENDED AND
   RESTATED AND RELATED PARTIES’ SUPPLEMENTAL SUGGESTIONS IN
SUPPORT OF THEIR MOTION TO DETERMINE THE ENFORCEABILITY OF THE
    THIRD-PARTY RELEASE CONTAINED IN THE CONFIRMATION ORDER

         COMES NOW, Claimant Interquest North No. 1, LLC, (“Interquest”) and makes the

following response to the Revocable Trust of John Q. Hammons dated December 28, 1989 as

Amended and Related Parties (“the Trust”) Supplemental Suggestions in Support of Their

Motion to Determine the Enforceability of the Third-Party Release Contained in the

Confirmation Order (Doc. #2764).

                       I.     RELEVANT TIMELINE & DOCUMENTS

         Before considering the merits of the newest arguments asserted by the Trust, it is

important to review the procedural history of the case and relevant filings.

         1.     December 20, 2016, Interquest filed its Proof of Claim (Claim No. 416).

         2.     March 30, 2018, JD Holdings, L.L.C. filed its Modified Amended Joint and

Consolidated Chapter 11 Plans of Reorganization for all Debtors (“the Plans”) (Doc. 1946). The

Plans “provide for the Sale of the Assets to JD Holdings and payment in full of all Allowed

Claims against Debtors . . . .” (Doc. 1946 at Introduction, Page 1). The Plans further divide the




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allowed claims into four classes, all of whom are represented to be unimpaired and thus not

entitled to vote to accept or reject the Plans. (Doc. 1946 at Art. IV, Para. D at page 14).

       3.      May 7, 2018, Debtors filed their Sixth Omnibus Objection to Proofs of Claim

[Recovery of Debts for Which Debtors are Not Liable] (“Objection”) (Doc. 2167) which listed

Interquest’s claim on Exhibit A. The only basis for the Objection was that the claims “seek

recovery of amounts for which the Debtors are not liable.” (Doc. 2167 at Para. 9). The Objection

provided that “[f]urther explanation of the basis of the objection, where relevant and applicable,

may be set forth in Exhibit A hereto.” No further or specific basis for the objection to

Interquest’s claim was set forth in Exhibit A.

       4.      May 11, 2018, this Court entered its Corrected Order Confirming Modified

Amended Joint and Consolidated Chapter 11 Plans for All Debtors field by Creditor JD Holdings

L.L.C (“Confirmation Order”) (Doc. 2188). This Court found that “all Classes are unimpaired

and thus are not entitled to vote.” (Doc. 2188 at Sec. H, Para. 2, Page 12). The Court further held

that “[a]ll Allowed Claims shall be paid in full in accordance with the terms of the Plans.” (Doc.

2188 at Sec. Q, Page 14). Under Article II entitled “Injunction, Exculpation, and Releases” the

Court also stated that “the Plans provide for payment in full of the Allowed Claims in these

Chapter 11 Cases and as a result, nothing in the Tenth Circuit prohibits approval of third-party

releases.” (Doc. 2188 at Art. II, Para. 1, Page 19).

       5.      May 23, 2018, Interquest filed its Response to Debtor’s Objection to Proof of

Claim (Doc. 2263). Interquest noted that Debtors’ Omnibus Objection failed to comply with the

Court’s Claim Objection Procedures Order (Doc. 1198) and Federal Rule of Bankruptcy

Procedure 7008 in that it did not provide precise averment of the objections to Interquest’s

claims. (Doc. 1198 at Para. 12(a), Page 4). Interquest requested that the Objections be overruled.



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       6.      August – October 2018. Counsel for Interquest and the Trust engaged in

settlement discussions via email. In various emails, Counsel for the Trust for the first time

raises the issue that non-debtor party Jacqueline Dowdy (“Dowdy”) was released by the

bankruptcy plan. During this time period, Interquest also provided a copy of its proposed first

Amended Petition.

       7.      January 15, 2019, Counsel for the Trust and Interquest meet to discuss settlement.

The issue of Dowdy’s release is discussed but the parties cannot come to an agreement.

       8.      June 6, 2019, the Court holds a phone conference and grants Debtors “30 days to

file a more exhaustive objection to claim and brief.” (Doc. 2695)

       9.      July 8, 2019, the Trust files its Revised Objections (“Revised Objections”) (Doc.

2712). For the first time in a bankruptcy filing, the Trust raises the issue that Dowdy was

released by the Plans and the Confirmation Order. (Doc. 2712, Para. 1-6, Pages 2-3). For the first

time in a bankruptcy filing, the Trust raises challenges to the sufficiency of Interquest’s claim as

set forth in its state court petition. (Doc. 2712, Para. 7-35, Pages 3-7).

       10.     July 29, 2019, Interquest files its Response to the Trust’s Revised Objections

(Doc. 2726). A copy of Interquest’s Proposed First Amended Petition was attached thereto as

Exhibit I.

       11.     August 30, 2019, the Trust filed its Motion for Judgment on the Pleadings on the

Claim of Interquest as To Jacqueline A. Dowdy or in the Alternative Motion to Dismiss

Jacqueline A. Dowdy from the Interquest Claim and Memorandum of Law in Support Thereof

(“Motion for Judgment on the Pleadings”) (Doc. 2739). Said motion was noticed for hearing on

September 23, 2019.




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        12.        September 17, 2019, Interquest filed its Unopposed Motion to Continue Hearing

on Debtors’ Revised Objections (Doc. 2743). In said motion, the parties agreed to continue a

hearing on the Revised Objections so long as a hearing on the Motion for Judgment on the

Pleadings was allowed to proceed on September 23, 2019.

        13.        September 20, 2019, Interquest field its Response to the Trust’s Motion for

Judgment on the Pleadings (Doc. 2745).

        14.        September 23, 2019, The Court conducts a hearing on the Trust’s Motion for

Judgment on the Pleadings and requests additional briefing from the parties.

        15.        October 12, 2019, the Trust files a document entitled Supplemental Suggestions

in Support of Their Motion to Determine the Enforceability of the Third-Party Release

Contained in the Confirmation Order (Doc. 2764). The Court’s Docket sheet reflects no Motion

with this title.

        16.        November 8, 2019, the instant brief is filed.

                                          II.    ARGUMENT

        A. Interquest did not Object to the Confirmation Order Because the Order and the

              Submitted Plans Provided for Payment of All Allowed Claims

        The Trust’s primary argument is that Interquest cannot now collaterally attack or

challenge the language in the Confirmation Order (Doc. 2188) allegedly releasing Jackie Dowdy

because Interquest did timely object to the Confirmation Order. Respectfully, this argument

ignores and subverts the obvious: Interquest did not object to the Confirmation Order because

both the Plans and the Confirmation Order, on their face, provided for payment in full of all

allowed claims, as set forth above. The Plans and Confirmation Order further confirmed that

allowed claims were unimpaired, “full-pay” basis with no right of creditor voting. In reliance on



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these representations, there was no reason for Interquest to object because the Order is clear that

Interquest’s claim, if allowed, would be paid in full.

       B. Interquest was not Placed on Notice or Given an Opportunity to Object to the

           Release of Third-Party Non Debtors in the Confirmation Order

       It is worth noting that the Trust’s argument that Interquest failed to timely object to the

Confirmation Order releasing Dowdy and other third-party non-debtors is disingenuous in that

the Trust wholly failed to make this specific argument until well after the Confirmation Order

was approved and the time for appeal had expired. Specifically, said argument was not raised

with Interquest’s counsel until October 2018 and was not made in a filing with this Court until

the Trust filed its Revised Objections (Doc. 2726) in July of this year. Said argument could and

should have been raised in Debtor’s Omnibus Objections (Doc. 2167) filed on May 7, 2018,

before the Court’s Confirmation Order was entered later that month. Had it been, Interquest

would have objected. 1

       C. The Release Conflicts with the Plain Language of the Confirmation Order

           Prohibiting a Discharge for Willful Misconduct and Fraud

       The Trust next argues that the third-party release contained in the Plans and approved by

this Court does not contain an exception for fraud and willful misconduct. This is correct;

however, the Confirmation Order clearly states that the “releases . . . do not relieve any Person of

liability arising out of an act or omission constituting willful misconduct or fraud.” (Doc. 2188,


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         Presumably, the Trust will assert that Plan containing language releasing non-debtors
should have provided sufficient notice for Interquest to object. This would be nothing more than
ripe speculation especially when one considers that the relevant language cited by the Trust is
buried in the middle of a paragraph on pages 30-31 of a 44 page document that also provides
clear and unambiguous language in the Introduction on Page 1 of the document that all allowed
claims would be paid in full.


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Art. II, Para. 3). To the extent the release in the Plans and the Confirmation Order conflict, the

Confirmation Order, as the “final judgment” (in the Trust’s own words) should control.

Additionally, the Bankruptcy code itself does not allow discharges for fraudulent activity and

willful injury. 11 U.S.C. § 523(a)(4) and (6).

       D. The Colorado Bankruptcy Court’s Opinion in Midway Gold is Distinguishable

           and Does Not Support Release of the Non-Debtor Parties in This Case.

       The Trust next attempts to distinguish Interquest’s argument that non-debtor releases are

prohibited in the Tenth Circuit under the holding in In re Western Real Estate Fund, Inc., 922

F.2d 595 (10th Cir. 1990) by citing to In re Midway Gold US, Inc., 575 B.R. 475 (Bankr. D. Co.

2017). At the outset, an opinion from a bankruptcy district court in another state is not binding

on this Court, and thus the Court should defer to the Tenth Circuit’s holding in Western Real

Estate. However, even if the Court is inclined to consider Midway Gold, it does not support the

Trust’s position here because it is clear from the Midway Gold Court’s analysis that it would not

have approved non-debtor release in this case had it been presented there. If anything, Midway

Gold provides support for Interquest’s position.

       Midway Gold is a nearly 50 page opinion concerning proposed confirmation of a Chapter

11 liquidation plan that is very narrowly tailored and must read in its entirety and carefully

considered. The passages selectively cited by the Trust appear on only two pages of the opinion

and ignore the full analysis and conclusions of the Court over the subsequent 15-16 pages

wherein it found both 1) that it lacked subject matter jurisdiction over the claims against the

third-party non-debtor released parties; and 2) denied confirmation of the plan. Midway Gold 575

B.R. at 522. Underlying the whole opinion is a deep skepticism of third-party non-debtor

releases which the Court repeatedly--citing to Circuit Court precedent--stated should be used



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only in rare cases or in cases presenting “truly unusual” circumstances. Id. at 503 n. 89 and 504.

This is not one of those cases.

        Perhaps the most critical language from Midway Gold appears at page 506 of the opinion,

which the Trust cites for the proposition that this Court should allow discharge of Dowdy and

other third-party non-debtors because the release is necessary for reorganization; the release is

narrowly tailored; and Interquest did not object or consent to the proposed injunction. (Doc. 2764

at page 4). This language is removed from the Court’s full context and analysis at page 506 of

the opinion which reads as follows:

        The Court must also find the release to be necessary for the reorganization and
        appropriately tailored to apply only to claims arising out of or in connection with the
        reorganization itself, and not to matters which would have no effect upon the estate.
        Otherwise, the releases in question may be beyond the jurisdiction of the bankruptcy
        court and its authority to finally adjudicate such matters. The Court must also examine
        whether the releasing creditors have consented to or objected to the proposed injunctions.
        Lastly, the releases may not provide nondebtors with “blanket immunity” for all
        times, transgressions and omissions and may not include immunity from gross
        negligence or willful misconduct. It is not the intention of the Court to permit non-
        debtors to purchase immunity from unrelated torts, no matter how substantial their
        contribution to a debtor’s reorganization.
        Id. at 506 (emphasis added). 2
Here, there can be no doubt that Dowdy and other non-debtors are attempting to use the third-

party non-debtor release as “blanket immunity” from any and all tort claims, including

Interquest’s claims that existed prior to the bankruptcy filing and allege fraud and willful

misconduct. This is the opposite of “narrowly tailored” and the argument raised in Midway Gold.

See id. at 514 (noting Debtors’ argument that the releases were narrow in scope because they

excluded claims based on gross negligence, willful misconduct and fraud.) Further, as noted by

the Midway Gold court during its examination of Western Real Estate, use of third-party non-


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 Like here, the third-party release language in the Midway Gold case excluded “any claims or Causes of Action
against any Released Party resulting from gross negligence, willful misconduct, or fraud.” Midway Gold, 575 B.R.
at 492.

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debtor releases to permanently enjoin claims post-bankruptcy in such a manner remains

impermissible. See Midway Gold, 575 B.R. at 500-501.

        Midway Gold is also factually distinguishable. First, the third-party release was narrowly

tailored to apply to post-petition claims to claims or causes of action “existing or taking place on

or after the Petition Date but prior to or on the Effective Date . . . .” Id. at 492 and 515. See also

id. at 521 (“It is not enough for the releases to be narrowly tailored to relate only to conduct or

omissions during the Chapter 11 case.”) Here, the Trust would have the non-debtor releases

applied to pre-petition claims such as Interquest’s, which is the exact scenario disapproved of by

the Western Real Estate Court. 922 F.2d at 599-600. Second, the proposed confirmation order in

Midway Gold afforded impaired creditors voting rights and contained defined “opt-out” and

objection mechanisms, which were discussed at length by the Midway Gold court. Id. at 492,

515, 521-22. No such “opt-out” provisions exist here, because both the Plans and the

Confirmation Order provided that creditors were unimpaired and not entitled to vote.

        Most critical however, remains the fact that in this case, both the Plans and the

Confirmation Order provided that all allowed claims should be paid in full. As noted by the

Midway Gold Court, the presence of such language in confirmation plans in crucial in

determining whether to allow non-debtor releases or enjoin non-consenting creditors’ claims

against non-debtors. See, e.g., Midway Gold, at 503-504 (discussing and citing cases from the

First, Second, Fourth, Sixth, Eighth and Eleventh Circuits each holding that a bankruptcy court

should consider, as a relevant factor or element, whether the plan provides a mechanism for the

payment of all, or substantially all, of the claims of the class or classes affected by the injunction

or non-debtor release).




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         Accordingly, for all the reasons stated above, Midway Gold provides no support for the

Trust’s position and cannot be read to support a non-debtor third party release bar under the facts

present in this case.

         E. Interquest Should not be Barred from Filing an Amended Petition

         In its last argument, the Trust argues that Interquest should be barred from filing a motion

to lift the stay or amend its claim to file an Amended Petition. Notably, the Trust cites no

authority for this proposition, choosing instead to basically make a laches or waiver argument

that too much time has passed.

         Simply put, Interquest filed its petition in state court when it did to ensure that said

claims were filed within the relevant statutes of limitation. During the time the case was pending

in state court and before the bankruptcy was filed, Interquest and counsel were aware of and

monitoring the ongoing litigation disputes between JD Holdings and the various JQH companies

(collectively “JQH”). Interquest and counsel surmised that such proceedings could result in

JQH’s bankruptcy or insolvency. Accordingly, Interquest opted to take a “wait and see”

approach, knowing that it had as a matter of right the ability to file an amended petition under

Missouri Rule of Civil Procedure 55.33(a). This assumption proved correct and countless hours

and expense were saved by not ligating the matter prior to bankruptcy being filed. 3

         With respect to seeking relief from this Court to file an Amended Petition or Claim,

counsel for Interquest desired to wait an receive guidance from this Court about how it wanted to

proceed with this matter during the June 2019 telephone conference. At that time, Interquest’s

position as set forth in its response to the Objections (Doc. 1198) was that the Trust’s Objections

were wholly insufficient and there was some thought that the Court might summarily overrule


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  It is also worth noting that JQH—as the filer of the motion to dismiss—could have noticed it its motion for hearing
in state court at any time but never did.

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them and allow the claim. Instead, the Trust requested and was granted leave to file Revised

Objections in July which raised for the first time in the bankruptcy case specific objections to the

sufficiency of Interquest’s state court claims. Had Interquest sought relief at that time to file a

Claim and the Court granted relief allowing them to do so, the Trust would then have filed

additional revised objections, in turn requiring another response from Interquest, and further

delaying this matter. Indeed, shortly thereafter, the Trust filed its separate Motion to Dismiss

Dowdy. The parties then agreed in an unopposed motion (Doc. 2743), to pass all objections and

focus on the release of Dowdy at the September 20, 2019 hearing. Following that hearing, the

Court ordered further briefing as to whether or not Dowdy should be released. Once that issue is

resolved and the Court has made its order, only then will Interquest be in the appropriate position

to file an Amended Petition or Claim.

                                      III.    CONCLUSION

         As noted by Interquest previously in its Response to the Trust’s Revised Objections (Doc.

2726),

         “Interquest is not asking the Court to reconsider Confirmation of the Plans or to vacate or
         modify the Order confirming the Plans. Interquest is simply requesting that its claims be
         adjudicated as allowed or disallowed and if allowed, be paid as contemplated by the
         Plan.” (Doc. 2726 at page 5)

This statement remains as true today as when the Response was first filed in August of this year,

despite multiple changing arguments from the Trust. Accordingly, for all these reasons, as well

as the reasons previously stated in Interquest’s previous filings, incorporated herein by reference,

the Trust’s Motion must be denied.




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                                                           Respectfully Submitted,

                                                           The Olsen Law Firm, LLC


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                                     CERTIFICATE OF SERVICE

          The undersigned certifies that the foregoing document was served electronically to those parties
who have entered an appearance in the Court’s Electronic Court Filing (ECF) System and conventionally,
via first-class mail, postage prepaid, to those parties who have requested notice but are not participating in
the ECF System, pursuant to instructions appearing on the electronic filing receipt received from the U.S.
Bankruptcy Court, on this 8th day of November, 2019.

                                                           /s/ Jill D. Olsen                     _
                                                           Jill D. Olsen




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